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Nia Malika Gossett v. The Kroger Co.; Kenneth Jackson;
and ABC Corporation
State Court of DeKalb County, State of Georgia
Civil Action File Number: 21A03441

Nia Malika Gossett v. The Kroger Co.; Kenneth Jackson;
and ABC Corporation
USDC, Northern District, Atlanta Division
Civil Action File Number: TBA




                              EXHIBIT B:
DEFENDANTS THE KROGER CO. AND KENNETH
   JACKSON’S ANSWER AND DEFENSES TO
        PLAINTIFF’S COMPLAINT
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                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

 NIA MALIKA GOSSETT,                                 )
                                                     )
        Plaintiff,                                   )
                                                     )   CIVIL ACTION
 v.                                                  )   FILE NO. 21A03441
                                                     )
 THE KROGER CO.,                                     )
 KENNETH JACKSON and                                 )
 ABC CORPORATION,                                    )
                                                     )
        Defendants.                                  )

                               ANSWER AND DEFENSES OF
                              DEFENDANT THE KROGER CO.

       COMES NOW The Kroger Co., named a defendant, by and through undersigned counsel,

and hereby files its Answer and Defenses to Plaintiff’s Complaint for Damages (the “Complaint”),

respectively showing as follows:

                                       FIRST DEFENSE

       For a first defense, Defendant The Kroger Co. (“Defendant” or “Kroger”) responds to the

enumerated paragraphs of the Complaint as follows:

                                                1.

       Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 1 of Plaintiff’s Complaint, which therefore are denied.

                                                2.

       Defendant admits it is an Ohio corporation authorized to transact business in the State of

Georgia. Defendant admits it may be served through its registered agent, CSC of Cobb County,

Inc., at 192 Anderson Street SE, Suite 125, Marietta, GA, 30060. Defendant denies all other

remaining allegations contained in Paragraph 2 of the Complaint.



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                                                                                               DEKALB COUNTY, GA.
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                                                3.

       Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 3 of Plaintiff’s Complaint, which therefore are denied.

                                                4.

       Paragraph 4 of Plaintiff’s Complaint is admitted. Defendant further asserts Kenneth

Jackson was not a Kroger employee or involved in the incident that forms the basis of the

Complaint and denies Mr. Jackson is a property party in interest.

                                                5.

       Paragraph 5 of Plaintiff’s Complaint is denied as pled.

                                                6.

       Paragraph 6 of Plaintiff’s Complaint is denied.

                                                7.

       Paragraph 7 of Plaintiff’s Complaint is denied.

                                                8.

       Paragraph 8 of Plaintiff’s Complaint is denied.

                                                9.

       Paragraph 9 of Plaintiff’s Complaint is admitted.

                                               10.

       Paragraph 10 of Plaintiff’s Complaint is denied.




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                                                 11.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 11 of Plaintiff’s Complaint, which therefore are

denied.

                                                 12.

          Paragraph 12 of Plaintiff’s Complaint is denied.

                                                 13.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 13 of Plaintiff’s Complaint, which therefore are

denied.

                                                 14.

          Paragraph 14 of Plaintiff’s Complaint is denied.

                                                 15.

          Paragraph 15 of Plaintiff’s Complaint is denied.

                                                 16.

          Paragraph 16 of Plaintiff’s Complaint is denied.

                                                 17.

          Paragraph 17 of Plaintiff’s Complaint is denied.

                                                 18.

          Paragraph 18 of Plaintiff’s Complaint is denied.

                                                 19.

          Paragraph 19 of Plaintiff’s Complaint is denied.




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                                               20.

       Paragraph 20 of Plaintiff’s Complaint is denied.

                                               21.

       Paragraph 21 of Plaintiff’s Complaint is denied.

                                               22.

       Defendant admits to any legal duty required by law but denies that Paragraph 22 of the

Complaint is an accurate representation of any such duty. Defendant denies Defendant Kenneth

Jackson owed Plaintiff any premises liability duty.

                                               23.

       Paragraph 23 of Plaintiff’s Complaint is denied.

                                               24.

       Paragraph 24 of Plaintiff’s Complaint is denied.

                                               25.

       Paragraph 25 of Plaintiff’s Complaint is denied.

                                               26.

       Paragraph 26 of Plaintiff’s Complaint is denied.

                                               27.

       Paragraph 27 of Plaintiff’s Complaint is denied.

                                               28.

       Paragraph 28 of Plaintiff’s Complaint is denied.

                                               29.

       Paragraph 29 of Plaintiff’s Complaint is denied.




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                                                 30.

        No response is required to the “WHEREFORE” paragraph following enumerated

Paragraph 29 of Plaintiff’s Complaint. By way of further response, Defendant denies any and all

averments alleged in said paragraph and demands strict proof thereof.

                                                 31.

        Defendant denies that it was negligent as alleged, or at all.

                                                 32.

        Defendant denies that Plaintiff’s alleged and/or claimed injuries and/or damages resulted

from any act or omission by Defendant.

                                                 33.

        Defendant denies that Defendant breached any applicable, material legal duty owing to

Plaintiff.

                                                 34.

        Defendant denies that it owed any applicable, material legal duty to Plaintiff.

                                                 35.

        The only admission by Defendant in response to any averment alleged in Plaintiff’s

Complaint are express admissions, and any averment contained in Plaintiff’s Complaint which has

not been expressly admitted by Defendant in its Answer, is hereby denied and strict proof thereof

is hereby demanded.

                                                 36.

        Defendant denies that Plaintiff is entitled to the relief requested in her Complaint.

                                                 37.

        Any and all allegations not specifically responded to are hereby denied.




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                                       SECOND DEFENSE

        For a Second Defense, Defendant asserts that, to the extent the evidence supports it,

Plaintiff failed to exercise care for her own safety, proximately causing, contributing to, or failing

to mitigate the injuries, if any, sustained by Plaintiff in the occurrence which is the subject of this

litigation.

                                        THIRD DEFENSE

        For a Third Defense, Defendant asserts that it breached no duty owed to Plaintiff.

                                       FOURTH DEFENSE

        For a Fourth Defense, Defendant asserts that no act or omission of this Defendant

proximately caused the occurrence at issue in this litigation or any damages alleged by the Plaintiff.

                                         FIFTH DEFENSE

        For a Fifth Defense, Defendant asserts that to the extent the evidence supports it, Plaintiff

may have assumed the risk of damages.

                                        SIXTH DEFENSE

        For a Sixth Defense, Defendant asserts that to the extent the evidence supports it, Plaintiff,

in the exercise of ordinary care, could have avoided the consequences of the alleged negligence,

any such negligence being specifically denied.


                                      SEVENTH DEFENSE

        For a Seventh Defense, Defendant asserts that the alleged hazard, if any, was open and

obvious to Plaintiff.

                                       EIGHTH DEFENSE

        For an Eighth Defense, Defendant asserts that it is entitled to the defenses of comparative

and contributory negligence.



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                                          NINTH DEFENSE

          For a Ninth Defense, Defendant asserts that to the extent that Plaintiff is claiming or

seeking recovery for injuries which pre-existed the accident, or which were not proximately caused

by the accident, Defendant asserts that it would not be liable under any circumstances for such

claims.

                                          TENTH DEFENSE

          For a Tenth Defense, Defendant asserts that venue is improper.


                                       ELEVENTH DEFENSE

          For an Eleventh Defense, this Court lacks personal jurisdiction over this Defendant.

                                        TWELFTH DEFENSE

          For a Twelfth Defense, Defendant denies that it has been stubbornly litigious, acted in bad

faith, or caused the Plaintiff unreasonable trouble and expense and therefore the Plaintiff is not

entitled to an award of attorney’s fees pursuant to O.C.G.A. § 13-6-11.

          Wherefore, having fully answered, Defendant requests that Plaintiff’s Complaint for

Damages be dismissed, and Defendant receive a judgment in his favor, with all costs cast against

Plaintiff, and such other and further relief as the Court deems just and proper under the

circumstances.

          WHEREFORE, having fully responded to Plaintiff’s Complaint by the filing of this, its

Answer and Defenses, Kroger prays:

(a)       That judgment is rendered in favor of Defendant Kroger and against Plaintiff;

(b)       That the cost of this action be taxed against Plaintiff

(c)       That this matter be tried by a jury of twelve (12) members; and,

(d)       For such other and further relief as is meet and just.



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      Respectfully submitted this 23rd day of August, 2021.

GRAY, RUST, ST. AMAND,                         /s/ Dorothy Paul
MOFFETT & BRIESKE, L.L.P.                      Matthew G. Moffett
950 East Paces Ferry Road, N.E.                Georgia State Bar No.: 515323
Suite 1700 – Salesforce Tower Atlanta          Dorothy Paul
Atlanta, Georgia 30326                         Georgia State Bar No.: 836822
Telephone:    (404) 870-7436                   Attorneys for Defendants The Kroger Co.
Facsimile:    (404) 870-1030                   and Kenneth Jackson




                                                                     STATE COURT OF
                                                                     DEKALB COUNTY, GA.
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing ANSWER AND

DEFENSES OF DEFENDANT THE KROGER CO. with the Clerk of Court using the Court’s

electronic filing-and-service system, which will send electronic notification to all parties having

appeared of record in this action:

                                       Robert D. Johnson, Esq.
                                         John E. Alday, Esq.
                                     JOHNSON & ALDAY, LLC
                                        219 Roswell Street NE
                                         Marietta, GA 30060


       Dated this 23rd day of August, 2021

                                                 /s/ Dorothy Paul
                                                 Dorothy Paul
                                                 Georgia Bar No. 836822




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                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

 NIA MALIKA GOSSETT,                                 )
                                                     )
        Plaintiff,                                   )
                                                     )   CIVIL ACTION
 v.                                                  )   FILE NO. 21A03441
                                                     )
 THE KROGER CO.,                                     )
 KENNETH JACKSON and                                 )
 ABC CORPORATION,                                    )
                                                     )
        Defendants.                                  )

                              ANSWER AND DEFENSES OF
                            DEFENDANT KENNETH JACKSON

       COMES NOW Kenneth Jackson, (hereinafter referred to as “Defendant”), by and through

undersigned counsel, and hereby files his Answer and Defenses to Plaintiff’s Complaint for

Damages (“Complaint”), respectively showing as follows:

                                       FIRST DEFENSE

       For a first Defense, Defendant responds to the enumerated paragraphs of Plaintiff’s

Complaint as follows:

                                                1.

       Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 1 of Plaintiff’s Complaint, which therefore are denied.

                                                2.

       Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 2 of Plaintiff’s Complaint, which therefore are denied.




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                                                                                               DEKALB COUNTY, GA.
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                                                     3.

        Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 3 of Plaintiff’s Complaint, which therefore are denied.

                                                     4.

        Defendant admits the allegations contained in Paragraph 4 of Plaintiff’s Complaint but

denies that he is a proper party in interest.

                                                     5.

        Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 5 of Plaintiff’s Complaint, which therefore are denied.

                                                     6.

        Paragraph 6 of Plaintiff’s Complaint is denied.

                                                     7.

        Paragraph 7 of Plaintiff’s Complaint is denied.

                                                     8.

        Paragraph 8 of Plaintiff’s Complaint is denied.

                                                     9.

        Paragraph 9 of Plaintiff’s Complaint is admitted.

                                                    10.

        Defendant admits this court has personal jurisdiction over him, but Defendant is without

knowledge or information sufficient to allow it to either admit or deny the remaining allegations

contained in Paragraph 10 of Plaintiff’s Complaint, which therefore are denied.




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                                                 11.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 11 of Plaintiff’s Complaint, which therefore are

denied.

                                                 12.

          Paragraph 12 of Plaintiff’s Complaint is denied.

                                                 13.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 13 of Plaintiff’s Complaint, which therefore are

denied.

                                                 14.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 14 of Plaintiff’s Complaint, which therefore are

denied.

                                                 15.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 15 of Plaintiff’s Complaint, which therefore are

denied.

                                                 16.

          Paragraph 16 of Plaintiff’s Complaint is denied.




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                                                 17.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 17 of Plaintiff’s Complaint, which therefore are

denied.

                                                 18.

          Paragraph 18 of Plaintiff’s Complaint is denied.

                                                 19.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 19 of Plaintiff’s Complaint, which therefore are

denied.

                                                 20.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 20 of Plaintiff’s Complaint, which therefore are

denied.

                                                 21.

          Defendant is without knowledge or information sufficient to allow it to either admit or

deny the allegations contained in Paragraph 21 of Plaintiff’s Complaint, which therefore are

denied.

                                                 22.

          Paragraph 22 of Plaintiff’s Complaint is denied.

                                                 23.

          Paragraph 23 of Plaintiff’s Complaint is denied.




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                                               24.

       Paragraph 24 of Plaintiff’s Complaint is denied.

                                               25.

       Paragraph 25 of Plaintiff’s Complaint is denied.

                                               26.

       Paragraph 26 of Plaintiff’s Complaint is denied.

                                               27.

       Paragraph 27 of Plaintiff’s Complaint is denied.

                                               28.

       Paragraph 28 of Plaintiff’s Complaint is denied.

                                               29.

       Paragraph 29 of Plaintiff’s Complaint is denied.

                                               30.

       No response is required to the “PRAYER FOR RELIEF” paragraph following enumerated

Paragraph 29 of Plaintiff’s Complaint. By way of further response, Defendant denies any and all

averments alleged in said paragraph and demands strict proof thereof.

                                               31.

       Defendant denies that he was negligent as alleged, or at all.

                                               32.

       Defendant denies that Plaintiff’s alleged and/or claimed injuries and/or damages resulted

from any act or omission by him.

                                               33.

       Defendant denies that he breached any applicable, material legal duty owing to Plaintiff.




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                                                 34.

        Defendant denies that he owed any applicable, material legal duty to Plaintiff.

                                                 35.

        The only admission by Defendant in response to any averment alleged in Plaintiff’s

Complaint are express admissions, and any averment contained in Plaintiff’s Complaint which has

not been expressly admitted by Defendant in his Answer, is hereby denied and strict proof thereof

is hereby demanded.

                                                 36.

        Defendant denies that Plaintiff is entitled to the relief requested in her Complaint.

                                                 37.

        Any and all allegations not specifically responded to are hereby denied.

                                       SECOND DEFENSE

        For a Second Defense, Defendant asserts that, to the extent the evidence supports it,

Plaintiff failed to exercise care for her own safety, proximately causing, contributing to, or failing

to mitigate the injuries, if any, sustained by Plaintiff in the occurrence which is the subject of this

litigation.

                                        THIRD DEFENSE

        For a Third Defense, Defendant asserts that he breached no duty owed to Plaintiff.

                                       FOURTH DEFENSE

        For a Fourth Defense, Defendant asserts that no act or omission of this Defendant

proximately caused the occurrence at issue in this litigation or any damages alleged by the Plaintiff.

                                         FIFTH DEFENSE




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          For a Fifth Defense, Defendant asserts that to the extent the evidence supports it, Plaintiff

may have assumed the risk of damages.

                                          SIXTH DEFENSE

          For a Sixth Defense, Defendant asserts that to the extent the evidence supports it, Plaintiff,

in the exercise of ordinary care, could have avoided the consequences of the alleged negligence,

any such negligence being specifically denied.


                                        SEVENTH DEFENSE

          For a Seventh Defense, Defendant asserts that the alleged hazard, if any, was open and

obvious to Plaintiff.

                                         EIGHTH DEFENSE

          For an Eighth Defense, Defendant asserts that he is entitled to the defenses of comparative

and contributory negligence.

                                          NINTH DEFENSE

          For a Ninth Defense, Defendant asserts that to the extent that Plaintiff is claiming or

seeking recovery for injuries which pre-existed the accident, or which were not proximately caused

by the accident, Defendant asserts that he would not be liable under any circumstances for such

claims.

                                          TENTH DEFENSE

          For a Tenth Defense, Defendant asserts that venue is improper.


                                       ELEVENTH DEFENSE

          For an Eleventh Defense, Defendant denies that he has been stubbornly litigious, acted in

bad faith, or caused the Plaintiff unreasonable trouble and expense and therefore the Plaintiff is

not entitled to an award of attorney’s fees pursuant to O.C.G.A. § 13-6-11.


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                                       TWELFTH DEFENSE

        For a Twelfth Defense, Defendant asserts that she is not the owner and/or occupier of the

subject premises under § 51-3-1 and, therefore, cannot be held liable for any damages alleged by

the Plaintiff.

                                     THIRTEENTH DEFENSE

        For a Thirteenth Defense, Defendant asserts that he has been improperly named as a

defendant, he is not a proper party in interest, he has been fraudulently joined, and Plaintiff’s

Complaint fails to state a claim upon which relief can be granted.

        Wherefore, having fully answered, Defendant requests that Plaintiff’s Complaint for

Damages be dismissed and Defendant receive a judgment in his favor, with all costs cast against

Plaintiff, and such other and further relief as the Court deems just and proper under the

circumstances.

        WHEREFORE, having fully responded to Plaintiff’s Complaint by the filing of this, his

Answer and Defenses, Defendant Kenneth Jackson prays:

        (a)      That judgment is rendered in favor of Defendant Kenneth Jackson and against

                 Plaintiff;

        (b)      That the cost of this action be taxed against Plaintiff;

        (c)      That this matter be tried by a jury of twelve (12) members; and,

        (d)      For such other and further relief as is meet and just.

        Respectfully submitted this 23rd day of August, 2021.




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GRAY, RUST, ST. AMAND,                         /s/ Dorothy Paul
MOFFETT & BRIESKE, L.L.P.                      Matthew G. Moffett
950 East Paces Ferry Road, N.E.                Georgia State Bar No.: 515323
Suite 1700 – Salesforce Tower Atlanta          Dorothy Paul
Atlanta, Georgia 30326                         Georgia State Bar No.: 836822
Telephone:    (404) 870-7436                   Attorneys for Defendants The Kroger Co.
Facsimile:    (404) 870-1030                   and Kenneth Jackson




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                                                                               DEKALB COUNTY, GA.
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                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the ANSWER AND DEFENSES

OF DEFENDANT KENNETH JACKSON with the Clerk of Court using the Court’s electronic

filing-and-service system, which will send electronic notification to all parties having appeared of

record in this action:

                                    Robert D. Johnson, Esq.
                                      John E. Alday, Esq.
                                  JOHNSON & ALDAY, LLC
                                     219 Roswell Street NE
                                      Marietta, GA 30060


        Dated this 23rd day of August, 2021

                                                  /s/ Dorothy Paul
                                                  Dorothy Paul
                                                  Georgia Bar No. 836822




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